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Circurt Court

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PRINCE GEORGE'S COUNTY MD
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= FEB UD 2016
— $ RECORDATION TAX PAID
. = $ —__. TRANSFER TAX PAIN

When recorded, return to;
Difect M age; LLC dbg4Motive Leriding
epartmefit
, Suite 3

KG Title, Inc.
103086 Baitimore National Pike
Ellicott City, Maryland 21042

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Title Order Na -_48.490R4

  
  

 

 

Escrow No.:
LOAN +
[Space Above This Line For Recording Data]
PURCHASE MONEY | sue
DEED OF TRUST

MN:
MERS PHONE #: 1-888-679-6377

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in

Sections 3, 10, 12, 17, 19 and 21. Certain rules regarding the usage of words used in this document
are also provided in Section 15.

(A) “Security Instrument” means this document, which is dated January 19, 2046,

together
with all Riders to this document.
(B) “Borrower” is Lauran Francis Jackson. TH Fil SURE +
RECORDING FEE
TAL

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HB
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Borrower is the trustor under this Security Instrument.
(CC). “Lender” is Nations Direct Mortgage; LLC dba Motive Lending.

MARYLAND — Single Family — Fannie Mae/Freddie Mac UNIFORM INSTRUMENT = Form 3021 1/04
Modified far FHA 9/2014 (HUD Handbook 4000.1) Initials:

Ellie Mae, Inc. Page 1 of 12 MDEFHAISDE
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LOAN #:
Lender is a Limited Liability Company, organized ana exising
under the laws of California.
Lender's address is P.O. Box 2026, Flint, MI 48501-2026.

(D) “Trustee” is KG Title, Inc,

(E} “MERS" is Mortgage Electronic Registration Systems, inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and has
an address and telephone number of P.O. Box 2026, Flint, Ml 48501-2026, tel. (888) 679-MERS.
(F) “Note” means the promissory note signed by Borrower and dated January 19, 2016.
The Note states that Borrower owes Lender TWO HUNDRED FORTY THOUSAND FIVE HUNDRED
SIXTY TWO AND NOMGO* Ree RAK RRR Dollars (U.S. $240,562.00 )
plus interest. Borrower has promised to pay this debt in regular Periadic Payments and to pay the debt
in full no later than February 1, 2046.
(G) “Property” means the property thai is described below under the heading "Transfer of Rights in
the Property.”
(4) “Loan” means the debt evidenced by the Note, plus interest, late charges due under the Note, and
all sums due under this Security Instrument, plus interest,
(I) “Riders” means all Riders to this Security instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable}:

(J Adjustable Rate Rider  ([] Condominium Rider [X] Planned Unit Development Rider

[] Other(s) [specify]

() “Applicable Law” means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
nen-appealable judicial opinions.

(K) “Community Association Dues, Fees, and Assessments” means ail dues, fees, assessments and
other charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(L) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by check,
draft, or similar paper Instrument, which is initiated through an electronic ierminal, telephonic instrument,
computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
account. Such term includes, butis not limited to, point-of-sale transfers, automated teller machine trans-
actions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.

(M) "Escrow items” means those items that are described in Section 3.

(N) "Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds
paid by any third party (other than insurance proceeds paid under the coverages described in Section 5)
for: (i) damage to, or destruction of, the Property; (if) condemnation or other taking of all or any part of the
Property; (i) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
value and/or condition of the Property.

(©) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default
on, the Loan.

(P) "Periodic Payment" means the regularly scheduled amount due for (j) principal and interest under
the Note, plus (ii} any amounts under Section 3 of this Security Instrument.

(Q) “RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 at seq.) and its imple-
menting regulation, Regulation X (12 C.E.R. Part 1024), as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the same subject matter. As used in
this Security Instrument, “RESPA" refers to all requirements and restrictions that are imposed in regard
to a “federally related mortgage loan" even if the Loan dees not qualify as a “federally related mortgage
foan” under RESPA.

(R) “Secretary” means.the Secretary of the United States Department of Housing and Urban Develop-
ment orhis designee. oss: .

(S) “Successor in Interest of Borrower” méans any party that has taken title to the Property, whether
or not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN:-THE PROPERTY 2.
The _beneficiary-of this Security Instrunient is MERS (solely as nominee for-Lender and Lender's suc-
Gassors and assigns} and the successors and assigns of MERS. This Security instrument secures to
Lender: {i} the repayment of the Loan, and all renewals, extensions and modifications of the Note; and
(ii) the performance of Borrower's covenants and agreements under this Security Instrument and the

  
 

MARYLAND ~ Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT — Form 3021 1/01
Modified for FHA 9/2014 (HUD Handbook 4000.1) Initials:

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LOAN #:

Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power ul sare,
the following described property located in the COUNTY
[Type of Recording Jurisdiction}
of Prince Georges
[Name of Recording Jurisdiction]:
SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS "EXHIBIT A”.
APN#: XX-XXXXXXX

which currently has the address of 4439 Beckenham Place, Upper Marlboro,
{Street} [City]
Maryland 20772 (‘Property Address’):
(Zip Code]

TOGETHER WITH ail the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall
also be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as
the “Property.” Borrower understands and agrees that MERS holds only legal litle to the interests granted
by Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee
for Lender and Lender's successors and assigns) has the right: to exercise any or ail of those interests,
including, but not limited to, the right to foreclose and sell the Property; and to take any action required of
Lender including, but not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right fo grant and convey the Property and that the Property is unencumbered, except for encum-
brances of record. Borrower warrants and will defend generally the tile to the Properly against all claims
and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform cov-
enants with limited variations by jurisdiction to constitute a uniform security Instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

4, Payment of Principal, Interest, Escrow Items, and Late Charges. Borrower shall pay when

due the principal of, and interest on, the debt evidenced by the Note and late charges due under the Note.
Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
this Security Instrumant shail be made in U.S. currency. However, ifany check or other instrument received
by Lender as payment under the Note or this Security Instrumentis returned to Lender unpaid, Lender may
require that any or all subsequent payments due under the Note and this Security Instrument be made in
ane or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check,
bank check, treasurer's check or cashier's check, provided any such check is drawn upon an institution
whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 14.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is nat obligated to apply such payments at the time such payments
are accepted. if each Periodic Paymentis applied as of its schéduled due date, then Lender need not
pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment
to bring the Loan current. if Borrawer does not do sa within a reasonable period of time, Lender shall
-elthér apply such furids or return them to Borrower: If not applied earlier, such funds will be applied to the
ouistanding principal balance under the Note immediately prior to foreclosure. No offset or claim which
Borrower might have now or in the future against Lender shall relieve Borrower from making payments
due under the Note and this Security Instrument or performing the covenants and agreements secured
by this Security Instrument.

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2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, alll
payments accepted and applied by Lender shail be applied in the following order of oriarity:

First, to the Mortgage Insurance premiums to be paid by Lender to the Secretary or the monthly
charge by the Secretary instead of the monthly mortgage insurance premiums;

Second, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and
other hazard insurance premiums, as required;

Third, to interest due under the Note;

Fourth, to amortization of the principal of the Nate; and,

Fifth, to jate charges due under the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow ltems. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the “Funds") to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as
a lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any:
(c) premiums for any and all insurance required by Lender under Section 5, and (d) Mortgage Insurance
premiums to be paid by Lender to the Secretary or the monthly charge by the Secretary instead of the
monthly Mortgage Insurance premiums. These items are called “Escrow Items.” At origination or at any
time during the term of the Loan, Lender may require that Community Association Dues, Fees, and Assess-
ments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow liem.
Borrower shail promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
shall pay Lender the Funds for Escrow items unless Lender waives Borrower's obligation to pay the Funds
for any or all Escrow liems. Lender may waive Borrower's obligation to pay to Lender Funds for any or alll
Escrow items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower
shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
payment within such time period as Lender may require. Borrower's obligation fo make such payments
and to provide recaipts shall for all purposes be deemed to be a covenant and agreement contained in this
Security Instrument, as the phrase “covenant and agreement’ is used in Section 9. If Borrower is obligated
to pay Escrow tems directly, pursuant fo a waiver, and Borrower fails to pay the amount due for an Escrow
Item, Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be
obligated under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or
all Escrow Items at any time by a notice given in accordance with Section 14 and, upon such revocation,
Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a
lender can require under RESPA. Lender shall estimate the amount of Funds due on the basis of cur-
rent data and reasonable estimates of expenditures of future Escrow Items or otherwise in accordance
with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instru-
mentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any
Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on
the Funds and Applicable Law permits Lender to make such a charge. Uniess an agreement is made in
writing or Applicable Law requires interest to be paid on the Funds, Lender shail nat be required to pay
Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that
interest shall be paid on the Funds, Lender shall give to Borrower, without charge, an annual accounting
of the Funds as required by RESPA,

if there is a surplus of Funds held in escrow, as defined under RESPA, Lender shail account to Bor-
rower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary fo make up the shortage in accordance with RESPA, but in no more than
42 monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender
shail notify Borrower as required by RESPA, and Borrower shaii pay to Lender the amount necessary
to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds.held by Lender,

4, Charges: Liens. Borrower:shall pay alltaxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments
or ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if
any. To the extent that these items are Escrow Items, Borrower shail pay them in the manner provided
in’ Section 3: = cer eee Ge, :

. Borrower shail promptly discharge any flen which has’ priority ‘over this Security Instrument unless
Borrdwer: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the tien in good faith
by, or defends against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to

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prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are conchided; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender determines that any part of the Property is subject fo a lien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions set forth above in this Section 4.

5. Property Insurance. Borrower shail keep the improvements now existing or hereafter erected on
the Properly insured against loss by fire, hazards included within the term “extended coverage," and any
other hazards including, but not limited to, earthquakes and floads, for which Lender requires insurance.
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant fo the preceding sentences can change during the term
of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require
Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination,
certification and tracking services; or (b) a one-time charge for flood zone determination and certification
services and subsequent charges each time remappings or similar changes occur which reasonably might
affect such determination or certification. Borrower shall also be responsible for the payment of any fees
imposed by the Federal Emergency Management Agency in connection with the review of any flood zane
determination resulting from an objection by Borrower.

Hf Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equily in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
became additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s
right to disapprove such policies, shail include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional joss payee. Lender shall have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices, If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shail include a standard merigage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made prompily by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender,
shall be applied to restoration or repair of the Property, if the restoration or repair is economically feasible
and Lender's security is not lessened. During such repair and restoration period, Lender shail have the
right to held such insurance proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be
undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a single payment
of in a series of progress payments as the work is completed. Unless an agreement is made in writing or
Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to
pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shail be the sole obligation of
Borrower. If the restoration ar repair is not economically feasible or Lender's security would be lessened,
the insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not
then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order
provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. in either event, or if Lender acquires the Property under Sec-
tion 24 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds
in an amount not.to.exceed the arnounts unpaid under the Note or this Security instrument, and (b) any
other of Borrower's rights (other: than the right to any refund of unearned premiums paid by Borrower}
under all insurance policies covering the Property, insofar as such rights are applicable to the coverage
of the Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay
amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Oecupancy. Borrower shall’cccupy; establish; and. use the Property as Borrower's principal
residence within’ 60 days after the execution of this Security Instrument and shall continue fo occupy the
Property as Borrower's principal residence for at least one year after the date'of occupancy, unless Lender
determines that this requirement shail cause undue hardship for the Borrower or unless extenualing cir-
cumstances exist which are beyond Borrower's control.

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7. Preservation, Maintenance and Protection of the Property; Inspections. BorreSleercnncs
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing in
value due to its condition. Unless it is deterrnined pursuant to Section 5 that repair or restoration is not
economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration
or damage. If insurance or condemnation proceeds are paid in connection with damage to the Property,
Borrower shall be responsible for repairing or restoring the Property only if Lender has released proceeds
for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or
in a series of progress payments as the work is completed. If the insurance or condemnation proceeds
are not sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration.

{f condemnation proceeds are paid in connection with the taking of the property, Lender shall apply
such praceeds to the reduction of the indebtedness under the Note and this Security instrument, first to any
delinquent amounts, and then to payment of principal. Any application of the proceeds to the principal shall
not extend or postpone the due date of the monthly payments or change the amount of such payments.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has rea-
sonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application pro-
cess, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge
cr consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed
to provide Lender with material information} in connection with the Loan. Material representations include,
but are not limited to, representations concerning Borrower's occupancy of the Property as Borrower's
principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument.
Hf (a) Borrower fails !o perform the covenants and agreements contained in this Security Instrument,
(b) there is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights
under this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfei-
ture, for enforcement of a lien which may attain priority over this Security Instrument or to enforce laws
or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever
is reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repair-
ing the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a
lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security instrument, includ-
ing its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited
to, entering the Property to make repairs, change locks, replace or board up doors and windows, drain
water from pipes, eliminate building or other code violations or dangerous conditions, and have utilities
turned on or off. Although Lender may take action under this Section 9, Lender does not have to da so
and is not under any duty or obligation to do so. it is agreed that Lender incurs no liability for not taking
any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
payment.

If this Security Instrument is on a leasehold, Borrower shall comply with ail the provisions of the lease.
Borrower shail not surrender the leasehold estate and interests herein conveyed or terminate or cancel
the ground lease. Borrower shall not, without the express written consent of Lender, aller or amend the
ground lease. If Borrower acquires fee tille lo the Property, the leasehold and the fee fitle shall not merge
unless Lender agrees to the merger in writing.

10. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

if the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
During such repair and restoration period, Lender shail have the right to hold such Miscellaneous Proceeds
until Lender has had an opportunity to inspect such Property to ensure the work has been completed
to Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay
for.the repairs and restoration in a:single disbursement or in a series of progress payments as the work
is completed. Unless an ‘agreement is made ih Writing or Applicable Law requires interest to be paid on
such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender’s security
would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
inatrufnent; whéther or not then dite, withthe excess, if any, paid to Borrower. Such Miscellaneous Pro-
céeds shall be applied in the order provided for in Section 2. ‘

in the event of a tolal taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess,
if any, paid to Borrower. )

   
 
 

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In the event of a partial taking, destruction, or loss in value of the Property in which the fait

ai the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
than the amount of the sums secured by this Security Instrument immediately before the partial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured
by this Security instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied
by the following fraction: (a) the total amount of the sums secured immediately before the partial taking,
destruction, or joss in value divided by (b) the fair market value of the Property immediately before the
partial taking, destruction, or loss in value. Any balance shall be paid to Borrower,

in the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount
of the sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower
and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured
by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower
fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized to col-
lact and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums
secured by this Security Instrument, whether or not then due. “Opposing Party” means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Properly or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 18, by causing the action or proceeding to be
dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid te Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for pay-
ment or modification of amortization of the sums secured by this Security Instrument granted by Lender to
Borrewer or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
eny Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Interest of Borrower or to refuse to extend time for payment ar otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand made by the original Borrower
or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
including, without limitation, Lender’s accaptance of payments from third persons, entities ar Successors
in Interest of Borrower or in amounts.less than the amount then due, shall not be a waiver of or preclude
the exercise of any right or remedy.

12. Joirit and Several Liability: Co-signers; Successors and Assigns Bound. Borrower covenants
and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower
who co-signs this Security Instrument but does not execute the Note (a “co-signer’): (a) is co-signing this
Security Instrument only to morigage, grant and convey the co-signer’s interest in the Property under the
terms of this Security Instrument: (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, madily, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the
co-signer’s consent.

Subject to the provisions of Section 17, any Successor in interest of Borrower who assumes Borrower's
abligations under this Securify Instrument in writing, and is approved by Lender, shall obtain all of Bor-
rower’s rights and benefits under this Security Instrument. Borrower shall nol be released from Borrower's
obligations and fiability under this Security Instrument unless Lender agrees to such release in writing. The
covenants and agreements of this Security Instrument shall bind (except as provided in Section 19) and
benefit the successors and assigns of Lender.

13. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees.
Lender may.collect fees and charges authorized by the Secretary. Lender may not charge fees that are
expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted
so that the interest or other loan charges collected or to be collected in connection with the Loan exceed
the permitted limits, then: (a) any such loan charge shail be reduced by the amount necessary to reduce
- the charge to the permitted imity and (b) any sums already-collected from Borrower which exceeded
“permitted limits willbe refunded ‘to Borrower. Lender may choose to make this refund by reducing the
principal owed under the Note or by making a direct payment to Borrower. Ifa refund reduces principal,
the reduction will be treated as a partial prepayment with no changes in the due date or in the monthly
payment amount unless the Note holder agrees in writing to those changes. Borrower's accPplgnge of

  
  

MARYLAND - Single Family = Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Farm 3021 W01
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any such refund made by direct payment to Borrower will constitute a waiver of any right of action Bor-
rower might have arising out of such overcharge.

14. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
address if sent by other means. Notice fo any one Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise, The notice address shall be the Property Address unless
Borrower has designated a substitute notice address by notice to Lender, Borrower shall prompily notify
Lender of Borrower's change of address. if Lender specifies a procedure for reporting Borrower's change
of address, then Borrower shall only report a change of address through that specified procedure. There
may be only one designated notice address under this Security Instrument at any one time. Any notice to
Lender shall be given by delivering it or by mailing it by first class mail to Lender’s address stated herein
unless Lender has designated another address by notice to Borrower. Any notice in connection with this
Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. If
any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
requirement will satisfy the corresponding requirement under this Security Instrument.

15. Governing Law; Severability; Rules of Construction. This Security Instrument shalt be gov-
erned by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
contained in this Security Instrument are subject fo any requirements and limitations of Applicabie Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
such silence shall not be construed as a prohibition against agreement by contract. In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict
shall not affect other provisions of this Security Instrument or the Note which can be given effect without
the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corre-
sponding neuter words or wards of the feminine gender; (b} words in the singular shall mean and include the
plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to take any action.

16. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

17. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 17,
“Interest in the Property” means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract
or escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

if all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not
a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

if Lender exercises this option, Lender shall give Borrower notice of acceleration. The natice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 14
within which Borrower must pay all sums secured by this Security Instrument. if Borrower fails to pay these
sums.prior to thé expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

18. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Bor-
rower shail have the right to reinstatement of a mortgage. Those conditions are that Borrower: (a} pays
Lender all sums which then would be due under this Security Instrument and the Note as if no accelera-
tion had occurred; fb) cures any default of any other covenants or agreements; (c) pays all expenses
incurred in enforcing this Security Instrument, including, but not limited to, reasonable attormeys’ fees,
property inspection and valuation feés, and other fees incurred for the purpose of protecting Lender's
interest in the Property and rights under this Security instrument; and (d) takes such action as Lender
may reasonably require lo assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's abligation to pay the sums secured by this Security Instrument, shall continue
unchanged. However, Lender is not required to reinstate if: (i) Lender has accepted reinstatement after
the commencement of foreclosure proceedings within two years immediately preceding the cammence-
ment of a current foreclosure proceedings: (ii) reinstatement will preclude foreclosure on different grounds
in the future, or (iii) reinstatement will adversely affect the priority of the lien created by this Security
Instrument. Lender may require that Borrower pay such reinstatement sums and expenses in one or
more of the following forms, as selected by Lender: (a) cash: (b) money order; (c) certified check, bank
check, treasurer’s check or cashier's check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon
reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully
effective as if no acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 17.

19. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note ora partial interest
‘in the Note (idgether with this Security Instrument) can be sold one or more times without prior notice
to Borrower: A'sale might result ina change:in the entity. (kriown as the “Loan Servicer’) that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage joan
servicing obligations under the Note, this Security instrument, and Applicable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Nole. If there is a change df f

   
    
   
 

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LOAN #:
Loan Servicer, Borrower will be given written notice of the change which will state ihe name and acaress
of the new Loan Servicer, the address to which payments should be made and any other information
RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing
obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer
and are not assumed by the Note purchaser unless otherwise provided by the Note purchaser,

20. Borrower Not Third-Party Baneficiary to Contract of insurance. Mortgage Insurance reim-
burses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower does
not repay the Loan as agreed. Borrower acknowledges and agrees that the Borrower is not a third party
beneficiary to the contract of insurance between the Secretary and Lender, nor is Barrawer entitled to
enforce any agreement between Lender and the Secretary, unless explicitly authorized to do so by
Applicable Law.

21. Hazardous Substances. As used in this Section 21: (a) ‘Hazardous Substances” are those sub-
stances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) “Environmental Law” means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) “Environmental Cleanup” includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an “Environmental
Condition” means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit ihe presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Properly. Borrower shall not
do, nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of
a Hazardous Substance, creates a condition that adversely affects the value of the Property. The preced-
ing two sentences shalt not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environ-
mental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of release
of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a Hazard-
ous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by any
governmental or regulatory authority, or any private party, that any removal or other remediation of any
Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

22. Grounds for Acceleration of Debt.

(a) Default. Lender may, except as limited by reguiations issued by the Secretary, in the case of pay-

ment defaults, require immediate payment in full of all sums secured by this Security instrument if:

() Borrower defaults by failing to pay in full any monthly payment required by this Security Instru-
ment prior to or on the due date of the next monthly payment, or

(ii) Borrower defaults by failing, for a period of thirty days, to perform any other obligations con-
tained in this Security Instrument.

(b} Sale Without Credit Approval. Lender shall, if permitted by applicable law (including Section

341{d) of the Garn-St. Germain Depository Institutions Act of 1982, 12 U.S.C. 4701j-3(¢)) and with

the prior approval of the Secretary, require immediate payment in full of all sums secured by this

Security Instrument if:

(i) All or part of the Property, or a beneficial interest in a trust owning all or part of the Property,
is sold or otherwise transferred (other than by devise or descent), and

(i) The Property is nol occupied by the purchaser or grantee as his or her principal residence, or
the purchaser or grantee does so occupy the Property but his or her credit has not been approved
in accordance with the requirements of the Secretary.

(c) No Waiver, if circumstances occur that would permit Lender to require immediate payment in full,

but Lender does not require such payments, Lender does not waive its rights with respect to subse-

quent events.

(d) .Regutations of HUD Secretary. In many circumstances regulations issued by the Secretary

will imit'Lender’s rights, inthe case of payment defaults, to require immediate payment in full and

foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure if not
permitted by regulations of the Secretary.

(ge) Mortgage Not Insured. Borrower agrees that if this Security Instrument and the Note are not

detarmined to be ‘eligible for insurance. under the National Housing Act within 60 days from the date

“hereof; Lender may, at its option, require immediate payment in full of all sums secured by this Secu-

rity Instriiment.A Written statement of any authorized agent of the Secretary dated subsequent to 60

days from the date hereof, declining to insure this Security Instrument and the Note, shail be deemed

conclusive proof of such ineligibility. Notwithstanding the foregoing, this option may not be exerdised

  
   

MARYLAND - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT — Form 3021 1/01
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by Lender when the unavailability of insurance is solely due to Lender's failure to remit a mortgage
insurance premium to the Secretary.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as fotiows:

23. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender all the rents
and revenues of the Property. Borrower authorizes Lender or Lender’s agents to collect the rents and
revenues and hereby directs each tenant of the Property to pay the rents fo Lender or Lender's agents.
However, pricr to Lender's notice to Borrower of Borrower's breach of any covenant or agreement in the
Security Instrument, Borrower shail collect and receive all rents and revenues of the Property as trustee
for the benefit of Lender and Borrower. This assignment of rents constitutes an absolute assignment and
not an assignment for additional security only.

If Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by Bor-
rower as trustee for benefit of Lender only, to be applied to the sums secured by the Security Instrument;
(b) Lender shall be entitled to collect and receive all of the rents of the Property; and (c) each tenant of
the Property shall pay all rents due and unpaid to Lender or Lender's agent on Lender's written demand
to the fenant.

Borrower has not executed any prior assignment of the rents and has not and will not perform any act
that would prevent Lender from exercising its rights under this Section 23.

Lender shall not be required to enter upon, take control of or maintain the Property before or after
giving notice of breach to Borrower. However, Lender or a judicially appointed receiver may do so at any
time there is a breach. Any application of rents shall not cure or waive any default or invalidate any other
right or remedy of Lender. This assignment of rents of ihe Property shall terminate when the debt secured
by the Security instrument is paid in full. .

24. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration follow-
ing Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 17 unless Applicable Law provides otherwise). The notice shall specify:
(a) the default; (b) the action required to cure the default; (c) a date, nat less than 30 days from
the date the notice is given to Borrower, by which the default must be cured: and (d) that failure
to cure the default on or before the date specified in the notice may result in acceleration of the
sums secured by this Security Instrument and sale of the Property. The notice shall further inform
Borrower of the right to reinstate after acceleration and the righl to assert in the foreclosure pro-
ceeding the non-existence of a default or any other defense of Borrower to acceleration and sale.
If the default is not cured on or before the date specified in the notice, Lender at its option may
require immediate payment in full of all sums secured by this Security Instrument without further
demand and may invoke the power of sale, assent to decree, and/or any other remedies permit-
ted by Applicable Law. Lender shail be entitled to collect all expenses incurred in pursuing the
remedies provided in this Section 24, including, but not limited to, reasonable attorneys’ fees and
costs of title evidence.

If Lender invokes the power of sale, Lender shall mail or cause Trustee to mail a notice of sale
to Borrower in the manner prescribed by Applicable Law. Trustee shall give notice of sale by public
advertisement and by such other means as required by Applicable Law. Trustee, without demand
on Borrower, shall sell the Property at public auction to the highest bidder at the time and place and
under the terms designated in the notice of sale in one or more parcels and in any order Trustee
determines. Trustee may postpone sale of all or any parcel of the Property by public announce-
ment at the time and place of any previously scheduled sale and by notice to any other persons
as required by Applicable Law. Lender or its designee may purchase the Properly at any sale.

Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
covenant or warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie
evidence of the truth of the statements made therein. Trustee shall apply the proceeds of the
sale in the following order: (a) to all expenses of the sale, including, but not limited to, Trustee's
feesof 0.00% of the gross sale price and reasonable attorneys’ fees; (6) to all sums
secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.

Borrower, in accordance with Title 14, Chapter 200 of the Maryland Rules of Procedure, does
hereby declare and assent io the passage of a decree to sell the Property in one or more parcels
by the equity court having jurisdiction for the sale of the Property, and consents to the granting
to any trustee appointed by the assent to decree of all the rights, powers and remedies granted
to the Trustee in this Security Instrument together with any and all rights, powers and remedies
granted by.the decree. Neither the assent to decree nor the power of sale granted in this Section
24 shall be exhausted in the evént the proceeding is dismissed before the payment in full of all
sums secured by this Security Instrument.

If the Lender’s interest in this Security Instrument is held by the Secretary and the Secretary
requires immediate payment in full under Section 22, the Secretary may invoke the nonjudicial

“power of sale provided in the Single Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C.
' 3751-et seq.) by requesting a foreclosure commissioner designated under the Act to commence
‘foreclosure and to sell the Property as provided in the Act: Nothing in the preceding sentence
shall deprive the Secretary of any rights otherwise available to a Lender under this Section 24 or
applicable law.

  
  

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25. Release. Upon payment of all sums secured by this Security Instrument, Lender or Trustee, shall
release this Security Instrument and mark the Note “paid” and return the Note to Borrower. Borrower shall
pay any recordation costs. Lender may charge Borrower a fee for releasing this Security instrument, but
only if the fee is paid to a third party for services rendered and the charging of the fee is permitted under
Applicable Law.

26. Substitute Trustee. Lender, at its option, may from time to time remove Trustee and appoint a
successor trustee to any Trustee appointed hereunder by an instrument recorded in the city or county in
which this Security Instrument is recorded. Without conveyance of the Property, the successor trustee
shall succeed to all the title, power and dufies conferred upon Trustee herein and by Applicable Law.

27. Possession of the Property. Borrower shall have possession of the Property until Lender has
given Borrower notice of default pursuant to Section 24 of this Security Instrument.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.
| ! q / Qsean

 

State of Mm P } . |
County of Bip a (get KG Els )

On this } a day of AW. Aol b, before me, ANS
the undersigned officer, personally Appeared LAUREN FRANCIS JACKSON (name(s) of person
(s) who make acknowledgement}, known to me (or satisfactorily proven) to be the person(s)
whose name(s) is/are subscribed to the within instrument and acknowledged that —

executed the same for the purposes therein contained.

 

In witness whereof | hereunto set my hand and a cial

eo

 

eesti tegy Notary

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STATE OF WY 2 H givA KD County ss:

 

 

1; O78 or City of Baltimore),
| Hereby Certify, that on this | g day of LRRD Z| b before me, the
subscriber, a Notary P iy e, State of AE and for the

 

MoE MaRS foté personally appeared,

 

 

 

 

the agent of the party secured by the foregoing Security Instrument, and made oath in due form of law that
the consideration recited in said Security Instrument is trae and bona fide as therein sat forth and that the
actual sum of money advanced at the closing transaction by the secured party was paid over and disbursed
by the party or parties secured by the Security Instrument fo the Borrower or to the,person responsible
for disbursement of funds in the closing transaction or their respective agent at a ime not later than the
execution and delivery by the Borrower of this Security Instrum

     
 

  

 

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the agent of the party or parties secured and is duly authorized ‘1 make this Affid; RS J a,
i — A UE se ete AL “,
AS WITNESS: my hand and notarial seal, "ag" Me é Wp = we € Ne =
“ ls ee ee rt S03 3
issi ires: & i ==: .
My Commission Expires: p/p Ae] fe “y Public 25 iS a8, 2
te My 3B ?
BOM Boe
é,
. ay, MD ww
(5 This is to certify that the within instrument has been prepared under the supervision of a Marylaidearns'’

attorney,

 

Name:

Ng PRET ip ened LLL

(3) This is to certify thatthe within instrument has been prepared by Aber
aba Meme Cenldyniy

a party to the instrument.

Dy Aushoo!

Name: “LAs Del Fa Sead
Title: Jaan Cre ae te™

Lender: Nations Niract Mortgage, LLC dba Motive Lending
NMLS ID:
“Broker: Ex rongage LLC

NMLS ID:
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NMLS ID:

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LOAN #:
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PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER Is made this 19th day of
January, 2016, and is incorporated into and shall be deemed to amend and
supplement the Mortgage, Deed of Trust or Security Deed ("Security Instrument’) of the
same date given by the undersigned ("Borrower") to secure Borrower's Note (“Note”) to
Nations Direct Mortgage, LLC dba Motive Lending

(“Lender”) of the same date and covering the Property described in the Securify Instru-
ment and located at:

4439 Beckenham Place

Upper Marlboro, MD 20772.

The Property Address is a part of a planned unit development (‘PUD*) known as
Kings Grant

PUD COVENANTS. In addition to the covenants and agreements made in the Securily
Instrument, Borrower and Lender further covenant and agree as follows:

A. So long as the Owners Association (or equivalent entity holding tilie fo common
areas and facilities), acting as trustee for the homeowners, maintains, with a gener-
ally accepted insurance carrier, a "master" or “blanket” policy insuring the property
located in the PUD, including al! improvernenis now existing or hereafter erected
onthe mortgaged premises, and such policy is satisfactory to Lender and provides

_insurance coverage in the amounts, for the periods, and against the hazards Lender
réquires, including fire and other hazards included within the term “extended cover-
age,” and loss by fload, to the extent required by the Secretary, then:

(i) Lender waives the provision in Paragraph 3 of this Security Instrument for the
monthly payment to Lender of one-twelfth of the yearly premium installments
for hazard insurance on the Property, and

(ii) Borrower's obligation under Paragraph 5 of this Security Instrument to maintain
hazard insurance coverage on the Property is deemed satisfied to the extent
that the required coverage is provided by the Owners Association policy.

Borrower shall give Lender prompt notice of any lapse in required hazard insurance

coverage and of any loss occurring from a hazard. In the event of a distribution of

hazard insurance proceeds in lieu of restoration or repair following a loss to the

Property or to common areas and facilities of the PUD, any proceeds payable to

Borrower are hereby assigned and shall be paid to Lender for application to the

sums secured by this Security Instrument, with any excess paid to the entity legally

entitled thereto.

B.. Borrower promises to pay all dues and assessments imposed pursuant to the legal
instruments creating:and governing the PUD.

C. if Borrower does not pay PUD dues and assessments when due, then Lender may
pay them. Any amounts disbursed by Lender under this paragraph C shall become
-additional debt of Borrower secured by the Security Instrument. Unless Borrower
and Lender agree to other tertns of payment, these amounts shall bear interest from
ihe date of disbursement at the Note rate and shall be payable, with interest, upon
notice from Lender to Borrower requesting payment.

FHA Multistate PUD Rider - 9/2044 Initials:
Ellie Mae, Inc. Page 4 of 2 FHAIHSD

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Loan +

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions
contained in this PUD Rider.

 

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| DATE

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FHA Multistate PUD Rider - 9/2074 Initials:

Ellie Mae, inc. Page 2 of 2 FHA
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Exhibit A

All piece(s) or parcel(s) of land, together with the improvements, rights, privileges and
appurtenances to the same belonging, situate in PRINCE GEORGE'S COUNTY,
MARYLAND, described as follows, to wit:

LOT 336, IN THE SUBDIVISION KNOWN AS "PLAT FOURTEEN - SECTION TWO
BLOCK C, KINGS GRANT", 15TH ELECTION DISTRICT, PRINCE GEORGE'S
COUNTY, MARYLAND AS PER PLAT THEREOF RECORDED IN PLAT BOOK VJ
160 AT PLAT NO. 10 AMONG THE LAND RECORDS OF PRINCE GEORGE'S
COUNTY, MARYLAND.

THE IMPROVEMENTS THEREON BEING KNOWN AS 4439 BECKENHAM
PLACE, UPPER MARLBORO, MARYLAND - 20772.
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LICENSEE INFORMATION OR AFFIDAVIT
FILED IN ACCORDANCE WITH REAL PROPERTY ARTICLE,
§3-104.1, ANNOTATED CODE OF MARYLAND

Lauren Francis Jackson

4439 Beckenham Place, Upper Marlboro, MD 20772

Licensee Information

Maryland Mortgage Lender Name: _Nations Direct Mortgage, LLC dba Motive Lending

 

Maryland Mortgage Lender License Number:

 

Maryland Mortgage Originator Name: _indru Jashnani

 

Maryland Mortgage Originator License Number: License #: 16514

Affidavit in Lieu of Maryland Mortgage Lender or
Maryland Mortgage Originator Licensee information

Check the box and complete the information for the applicable selection(s) below. As used herein, the
term “Loan” means the mortgage loan secured by the security instrument attached hereto.

agatdavit of Individual Mortgage Originator:
i} SEN Dey Asia Ast . whose address is
FED) Vol Keual F200 miele CA, | AOI A
~_ hereby affirm, under the penalties of perjury, that | am the individual who originated the Loan
and, in connection therewith, | am exempt from the licensing requirements under Financial Institutions
Article, §§11-801 through 11-618, Annotated Code of Maryland.

Affidavit of Lender:
Cit
hereby affirm, under the penalties of perjury, that i am the
of
(the “Lender’) that made the Loan. The Lender's address is

 

 

 

 

 

Tam duly authorized by the Lender to execute this affidavit. The Lender, in connection with the Loan, is
exempt from the licensing requirements under Financiat Institutions Article, §§11-501 through 11-524,
Annotated Cade of Maryland.

Ellie Mae, Inc, Page 1 of 2 MODSLICAF 0111
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37851 21]

Loan «:

Lauren Francis Jackson

4439 Beckenham Place, Upper Marlboro, MD 20772

Afidavit of Lender (on its own behalf and on behalf of its employee who originated the Loan):
\,
hereby affirm, under the penalties of perjury, that i am the
of

(the “Lender") that made the Loan. The Lander’s address is

 

 

 

 

 

fam duly authorized by the Lender to execute this affidavit. The Lender, in connection with the Loan, is
exempt from the licensing requirements under Financial Institutions Article, §§11-501 through 11-524,
Annotated Code of Maryland. The employee of the Lender who originated the Loan is exempt fram the
licensing requiremenis under Financial Institutions Article, §§11-601 through 11-618, Annotated Code
of Maryland.

Affidavit of Mortgage Broker (on behalf of its employee who originated the mortgage loan):

 

heraby affirm, under the penalties of perjury, that | am the
of
(the “Broker’) that brokered the Loan. The Broker’s address is

 

 

 

 

| am duly authorized by the Broker to execute this affidavit. The employee of the Broker,

 

(the “Employee’), is the individual who originated the Loan. The Employee, in connection with the Loan,
is exempt from the licensing requirements under Financial Institutions Article, §§ 11-601 through 11-678,
Annotated Code of Maryland.

| SOLEMNLY AFFIRM, under the penalties of perjury and upon personal knowledge, that the contents
of the a, aoa are true.
4/20

 

 

 

A Date
e z a Dulas Signature of Affiant (Signing on Behalf of Lender)
fac vO Pishnowns Print Name and Title of Affiant
Date

 

Signature of Affiant (Individual Martgage Originator}

 

Print Name of Affiant

 

Date

 

Signature of Affiant (Signing on Behalf of Mortgage Broker)

 

Print Name and Title of Affiant

Ellie Mae, Inc. Page 2 of 2 MDSLICAF 0114
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